      Case 2:23-cv-02224-MSN-atc          Document 348       Filed 03/21/25      Page 1 of 8
                                          PageID 4777



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 RowVaughn Wells, Individually and as                )
 Administratrix of the Estate of Tyre Deandre        )
 Nichols, Deceased,                                  )
                                                     )
                                                     )
         Plaintiff,                                  )
                                                     )
 v.                                                  )    CASE NO. 2:23-CV-02224
                                                     )    JURY DEMAND
 The City of Memphis, Tennessee; Chief Cerelyn       )
 Davis; Emmitt Martin III;                           )
 Demetrius Haley; Justin Smith;                      )
 Desmond Mills, Jr.; Tadarrius Bean;                 )
 Preston Hemphill; Robert Long;                      )
 JaMichael Sandridge; Michelle Whitaker;             )
 DeWayne Smith,                                      )
                                                     )
         Defendants.                                 )


      DEFENDANT CHIEF CERELYN DAVIS’ MOTION FOR PROTECTIVE ORDER


        Defendant Chief Cerelyn Davis, in her individual capacity (“Chief Davis”) files this

Motion for Protective Order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure.

Chief Davis seeks a protective order staying discovery against her during the pendency of her

Motion to Dismiss based on the doctrine of qualified immunity (ECF No. 303). Chief Davis

further requests an order excusing her from compulsory mediation attendance. In support, Chief

Davis states as follows:

I.      PROCEDURAL BACKGROUND

        On January 3, 2025, Plaintiff Individually and as Administratrix of the Estate of Tyre

Deandre Nichols, filed her First Amended Complaint. (First Amended Complaint (“Complaint”),


                                                 1
      Case 2:23-cv-02224-MSN-atc           Document 348         Filed 03/21/25      Page 2 of 8
                                           PageID 4778



ECF No. 277.) In the Complaint, Plaintiff added Chief Cerelyn Davis in her individual capacity

as a Defendant. (Id. ¶ 14.) Plaintiff alleges that “the City of Memphis appointed Defendant

Cerelyn Davis as the Director of Police Services, also known as the Chief of Police of the MPD”

and that “[t]he Director of Police Services, also known as the Chief of Police of the MPD, is and

was at all relevant times the final policymaker for the City of Memphis as it relates to the

implementation of the policies and practices of the MPD.” (Id. ¶ 11, 12.)

        On February 17, 2025, Chief Davis filed a Motion to Dismiss based on the doctrine of

qualified immunity. (See City Defendants’ Motion and Memorandum in Support of Motion to

Dismiss, ECF No. 303, PageID 4263–66.) Specifically, Chief Davis argued that Plaintiff did not

allege Chief Davis violated any statutory or constitutional right, and that Plaintiff failed to allege

that Chief Davis’s actions violated clearly established law. (See id.)

II.     LAW AND ARGUMENT

           a. Chief Davis Is Entitled to a Stay of Discovery Pending the Resolution of the
              Motion to Dismiss Based on the Doctrine of Qualified Immunity.

        Chief Davis is entitled to a stay of the case while the issue of qualified immunity is

pending before the Court. See, e.g., Kennedy v. City of Cleveland, 797 F.2d 297, 299 (6th Cir.

1986) (“[T]he court is further obligated, upon application [for dismissal], not only to refrain from

proceeding to trial but to stay discovery until [the qualified immunity] issue is decided.”); see

also Mitchell v. Forsyth, 472 U.S. 511, 526 (1985) (quoting Harlow v. Fitzgerald, 457 U.S. 800,

817 (1982) (“[E]ven such pretrial matters as discovery are to be avoided if possible, as

‘[i]nquiries of this kind can be peculiarly disruptive of effective government.’”)); Crawford v.

Tilley, 15 F.4th 752, 760 (6th Cir. 2021) (“Unless the plaintiff’s allegations state a claim of

violation of clearly established law, a defendant pleading qualified immunity is entitled to

dismissal before the commencement of discovery.”). (See also ECF No. 303, PageID 4263–66


                                                  2
    Case 2:23-cv-02224-MSN-atc             Document 348         Filed 03/21/25       Page 3 of 8
                                           PageID 4779



(Chief Davis arguing that Plaintiff’s allegations do not state a claim for violation of clearly

established law).)

       “Where a defendant official is entitled to qualified immunity the plaintiff must plead facts

which, if true, describe a violation of a clearly established statutory or constitutional right of

which a reasonable public official, under an objective standard, would have known. The failure

to so plead precludes a plaintiff from proceeding further, even from engaging in discovery, since

the plaintiff has failed to allege acts that are outside the scope of the defendant’s immunity.”

Kennedy, 797 F.2d at 299 (citing Mitchell, 472 U.S. at 525). “The conception animating the

qualified immunity doctrine as set forth in Harlow v. Fitzgerald, […] is that ‘where an official’s

duties legitimately require action in which clearly established rights are not implicated, the

public interest may be better served by action taken ‘with independence and without fear of

consequences.’” Mitchell, 472 U.S. at 525. “[T]he ‘consequences’ with which we were

concerned in Harlow are not limited to liability for money damages; they also include ‘the

general costs of subjecting officials to the risks of trial—distraction of officials from their

governmental duties, inhibition of discretionary action, and deterrence of able people from

public service.’” Id. (quoting Harlow, 457 U.S. at 816) (emphasis added).

       The Supreme Court in Harlow, emphasized that pretrial matters such as discovery are to

be avoided if possible, as “[i]nquiries of this kind can be peculiarly disruptive of effective

government.” Id. (quoting Harlow, 457 U.S., at 817.) The Sixth Circuit has recognized Supreme

Court precedent and noted that “[a]s both Mitchell and Harlow make clear, a claim of immunity

raises an interest in an early, and inexpensive, termination of the litigation.” Kennedy v. City of

Cleveland, 797 F.2d 297, 299 (6th Cir. 1986) (emphasis added). If the defendant files a motion to




                                                   3
      Case 2:23-cv-02224-MSN-atc          Document 348         Filed 03/21/25      Page 4 of 8
                                          PageID 4780



dismiss based on qualified immunity, the court must “stay discovery until that issue is decided.”

Id.

        Here, Chief Davis timely raised a qualified immunity defense. (See ECF No. 303, PageID

4263–66.) Specifically, Chief Davis argues that based on the allegations contained in the

Complaint, Plaintiff did not allege that Chief Davis violated any statutory or constitutional right

or that any of Chief Davis’ alleged actions violated clearly established law. (See id.) This is

precisely a case where “even such pretrial matters as discovery [should] be avoided if possible,

as ‘[i]nquiries of this kind can be peculiarly disruptive of effective government.’” Mitchell, 472

U.S. 511, 526 (quoting Harlow, 457 U.S. at 817; see also Crawford, 15 F.4th at 760 (“Unless the

plaintiff’s allegations state a claim of violation of clearly established law, a defendant pleading

qualified immunity is entitled to dismissal before the commencement of discovery.”). Subjecting

Chief Davis to expensive and burdensome discovery obligations is exactly what the Supreme

Court sought to prevent with the qualified immunity defense. See Mitchell, 472 U.S. at 525

(quoting Harlow, 457 U.S. at 816) (“[T]he ‘consequences’ with which we were concerned in

Harlow are not limited to liability for money damages; they also include ‘the general costs of

subjecting officials to the risks of trial—distraction of officials from their governmental duties,

inhibition of discretionary action, and deterrence of able people from public service.’”).

        Chief Davis is the Director of Police Services for the Memphis Police Department

(MPD), the eighteenth largest police department in the United States. WELCOME FROM MEMPHIS

POLICE CHIEF CERELYN “CJ” DAVIS, https://www.memphispolice.org/ (last visited Mar. 13, 2025)

[hereinafter “WELCOME FROM MEMPHIS”]; Zahaab Rehman, 20 Largest Police Departments in




                                                  4
    Case 2:23-cv-02224-MSN-atc            Document 348        Filed 03/21/25      Page 5 of 8
                                          PageID 4781



the US, YAHOO FINANCE, (Mar. 25, 2024).1 Chief Davis leads MPD in serving a population of

over 650,000 citizens in Memphis, Tennessee and oversees approximately two thousand full-time

police officers, almost two hundred Police Reserve Officers, eighty-plus Police Service

Technicians, and upwards of seven hundred thirty full-time and part-time civilian employees. See

WELCOME FROM MEMPHIS.

        As recognized by courts within the Sixth Circuit, “while the Court has discretion to stay

a case pending resolution of a dispositive motion, a stay is mandated in those situations where

governmental defendants have raised a claim of qualified immunity unless there is discovery

needed to frame the immunity issue.” Nichols v. Knox Cty., TN, No. 3:11-CV-417, 2013 WL

12214450, at *3 (E.D. Tenn. Oct. 9, 2013) (citations omitted). Accordingly, Chief Davis is

entitled to a stay of discovery while the issue of qualified immunity is pending before the Court;

therefore, she respectfully requests that the Court enter a protective order barring substantive

discovery against Chief Davis in the interim.

           b. Chief Davis Should Not Be Required to Attend Mediation While Her Motion
              to Dismiss Is Pending.

       Based on the number of defendants involved and the complexity of this case, Chief Davis

respectfully requests the Court’s guidance on how discovery should proceed given that Chief

Davis (1) has moved to dismiss the claim asserted against her on the basis on qualified immunity

and (2) the case law unequivocally provides Chief Davis protection from discovery and

compulsory mediation attendance while the issue of qualified immunity is pending. The Court




1
 https://finance.yahoo.com/news/20-largest-police-departments-us-031255644.html?guccounter
=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_referrer_sig=AQAAAKRu
eUXm4WMIcUzKH14bFkQGqQLEDJJrJ9zzP54TmwBapQp6eM8mBfYWASP0H0Dc_KJxZw
SoO9-WVUsyvCoakOGR8F3G9o-2BnRcu4mRmz3fg9YBqFj7IhOCcZab8suj-JH5npONXny2h
qBG6EL5ytChdkaojPyV9xyzbvs6WXtP.
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    Case 2:23-cv-02224-MSN-atc             Document 348       Filed 03/21/25      Page 6 of 8
                                           PageID 4782



has discretion to provide the parties with appropriate guidance on discovery conduct while Chief

Davis’s Motion to Dismiss is pending. See, e.g., Crawford-El v. Britton, 523 U.S. 574, 598

(1998) (“Rule 26 vests the trial judge with broad discretion to tailor discovery narrowly and to

dictate the sequence of discovery.”); In re Flint Water Cases, 960 F.3d 820, 826 (6th Cir. 2020)

(quoting Kennedy, 797 F.2d at 299–300 (“The Supreme Court requires that civil-rights actions

brought under § 1983 play out in stages to shield government officials from the ‘burdens of

litigation.’”). Further, Rule 26(c) provides:

       […]The court may, for good cause, issue an order to protect a party or person from
       annoyance, embarrassment, oppression, or undue burden or expense, including one
       or more of the following: (A) forbidding the disclosure or discovery; (B) specifying
       terms, including time and place or the allocation of expenses, for the disclosure or
       discovery; (C) prescribing a discovery method other than the one selected by the
       party seeking discovery; (D) forbidding inquiry into certain matters, or limiting the
       scope of disclosure or discovery to certain matters[.]

Fed. R. Civ. P. 26(c)(1)(A)-(D).

       Chief Davis recognizes the difficulties presented by proceeding with discovery against

other Defendants while discovery against her is stayed. Nevertheless, Chief Davis respectfully

requests that the Court stay the action against her with respect to discovery as well as any

requirement that she personally attend the mediation.2 Discovery in this case has been robust,

and Plaintiff’s recent addition of Chief Davis in her individual capacity has made proceeding

with discovery even more complicated. Thus, Chief Davis respectfully requests that the Court

excuse Chief Davis from mandatory attendance at the court-ordered mediation.




2
  Chief Davis may attend the mediation in her capacity as the Director of Police Services, but in
light of the stay, her attendance should not by compulsory.
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    Case 2:23-cv-02224-MSN-atc              Document 348        Filed 03/21/25     Page 7 of 8
                                            PageID 4783



   III.      CONCLUSION

          For the foregoing reasons, Chief Davis respectfully requests that the Court enter a

protective order (1) barring substantive discovery against her while her Motion to Dismiss is

pending and (2) protecting her from mandatory participation in the court-ordered mediation.

          DATED: March 21, 2025

                                                       Respectfully submitted,

                                                       BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, P.C.

                                                       s/ Bruce McMullen
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                                                       Freeman B. Foster (#23265)
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                                                       bmcmullen@bakerdonelson.com
                                                       jsilk@bakerdonelson.com
                                                       ffoster@bakerdonelson.com

                                                       Attorneys for Defendant City of Memphis,
                                                       Chief Cerelyn Davis in her Individual
                                                       Capacity, and Dewayne Smith as Agent of
                                                       the City of Memphis



                              CERTIFICATE OF CONSULTATION
        I, Bruce McMullen, hereby certify that on March 17, 2025, counsel for the City Defendants
consulted with counsel for the various parties via email regarding the relief sought in this Motion.
The Parties were asked whether they oppose the relief requested in this Motion. A chart detailing
the parties’ responses is below:

               Party                    Responding Counsel                    Opposition?
              Plaintiff                    Joshua Levin                          Yes
             Hemphill                      No Response
             D. Smith                      No Response
              J. Smith                     No Response
                Long                       No Response
             Sandridge                     No Response
                                                   7
    Case 2:23-cv-02224-MSN-atc        Document 348       Filed 03/21/25     Page 8 of 8
                                      PageID 4784



          Whitaker                     No Response
           Haley                       No Response
           Bean                        No Response
          Martin III                   No Response
          Mills, Jr.                   No Response


                                                        s/ Bruce McMullen
                                                        Bruce McMullen


                              CERTIFICATE OF SERVICE

       I, Bruce McMullen, hereby certify that on March 21, 2025, I electronically filed the
foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such
system will serve a copy of the foregoing upon all counsel of record in this action.


                                                        s/ Bruce McMullen
                                                        Bruce McMullen




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